Odfio/f2014 OF: 56 FAX 2129260119 A. PHILIP RANDOLPH HS [q) 008/014

Alfred University
Graduate Program in School Counseling - Downstate
Offered in Collaboration with CITE

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Melissa L vonnel Dashan

State:

 

   
 
  

 

Pha pe Number: E-mail

 

 

  

 

id Supervisor Name:

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Lam definitely interested in supervising and have already made a
commitment to supervise this student.

Lam interested in supervising but would like more information before I make a
#5] commitment to supervise this student.

Lam not interested in supervising but am recommending the following counselor
who is interested in supervising this student:

we erry MARE, ahs BCom 21246013 Yoo

nat Narhe Phone #

Counseling Supervisor’s Signature LL Masai Dale j fl i)o ee
Title AE. O-

Please return completed form to: Dr. Bob Bitting
c/o Lisa Sanford
Graduate Counseling Program
6 Sayles Street
Alfred, NY 14802

 

 

 

 

 

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